Case 2:05-cr-20136-.]DB Document 19 Filed 07/01/05 Page 1 of 2 Page|D 27

 

|N THE UN|TED STATES D|STR|CT COUF{T
FOR THE WESTEFlN DlSTFt|CT OF TENNESSEE

 

 

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uNrrED sTATEs or= AMr.=.nch, %YMSMY
Plaimrrr,
vs. cn. No. 05-20136-01-B

KIMMO R. W|LSON,

Defendant.

 

OF{DEFt ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

re ort date of Monda Jul 25 2005 at 9: 0 a.m., in Courtroom 1 11th Floor of the

 

 

Federal Bui|dingl Memphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDEFtED this 30 day of June, 2005

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@lEL BFtEEN
JN|T @D STATES D|STR|CT JUDGE

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with hole c -' ar.- dor 32( (b) FHCrP on "

 

 
  

       
 

UNITED sTATE D"ISIC COURT - WESTRNE D's'TRCT 0 TESSEE

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This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20136 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

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chcrable J. Breen
US DISTRICT COURT

